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 4                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 5                                            AT SEATTLE

 6    UNITED STATES OF AMERICA,
 7                           Plaintiff,
                                                                     CASE NO. CR05-0197C
 8            v.
                                                                     ORDER
 9    WEI PING LI,
10                           Defendant.
11

12          Defendant Wei Ping Li having joined her co-defendant’s motion to continue the trial date in this

13   matter and the Court having reviewed the stipulated motion papers, the Court finds that a failure to grant

14   the requested continuance as to Defendant Li would deny her reasonable time to obtain counsel and

15   reasonable time for effective preparation, taking into account the exercise of due diligence, within the

16   meaning of 18 U.S.C. § 3161(h)(8)(B)(iv). The Court also finds that the ends of justice will be served by

17   continuing the trial date as to Defendant Li, and that a continuance is necessary to ensure effective trial

18   preparation, and that these factors outweigh the best interests of the public in a more speedy trial, within

19   the meaning of 18 U.S.C. § 3161(h)(8)(A).

20          For these reasons, the Court hereby ORDERS that the trial date as to Defendant Li be continued

21   from September 12, 2005, to December 5, 2005. Pre-trial motions shall be due on September 19, 2005.




                                                            A
22          SO ORDERED this 12th day of August, 2005.

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                                                            UNITED STATES DISTRICT JUDGE
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26   ORDER – 1
